Case 1:20-mj-00316-JCN Document9 Filed 11/16/20 Pageiof1 PagelD #: 15

AO 442 (Rev. 61/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

District of Maine

United States of America

)
v. )
KATRINA F. PREBLE ) Case No. 1:20-mj-00316-JCN
)
Defendant )
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) _ Katrina F. Preble

who is accused of an offense or violation based on the following document filed with the court:

 

f Indictment [ Superseding Indictment © Information 1 Superseding Information a Complaint
1 Probation Violation Petition (1 Supervised Release Violation Petition [Violation Notice ( Order of the Court

This offense is briefly described as follows:

Counts 1 and 2: Knowingly and willfully did transmit in interstate commerce a threat to injure the person of another.

11:05 am, Nov 16 2020 l,. [ [--

 

 

 

 

Date and time issued:
wage © StEManire’
City and state: Bangor , ME John C Nivison U.S. Magistrate Judge
Pritted name and title

 

Return

 

This warrant was received on (date) ( t | ( 6 / 2020 and the person was arrested on (date) lt // @ [ 2020
at (city and state) _ BANGOR , MALNE ‘

Date: If [ lo[ 2020 Wlieted (Ce :

Miche J. VERHAK, FEL, SA

Printed name and title

 

 

 
